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  6                         UNITED STATES DISTRICT COURT
  7                        SOUTHERN DISTRICT OF CALIFORNIA
  8   UNITED STATES OF AMERICA,     )       Case No. 96CR0413-JLS
                                    )
  9                  Plaintiff,     )
                                    )
 10        v.                       )       ORDER AND JUDGMENT OF DISMISSAL
                                    )       OF INDICTMENT AND
 11   SECUNDINO ELENES-HIGUERA (2), )       RECALL OF ARREST WARRANTS
      ALONSO ELENES-HIGUERA (3),    )
 12   MANUEL ELENES-HIGUERA (4),    )
      CRISTOBAL SARMIENTO           )
 13             PALAZUELOS (8),     )
                                    )
 14                  Defendants.    )
      ______________________________)
 15
 16        Upon motion of the UNITED STATES OF AMERICA and good cause
 17   appearing,
 18        IT IS HEREBY ORDERED that the Indictment in the above entitled
 19   case be dismissed without prejudice, and the Arrest Warrants be
 20   recalled.
 21        IT IS SO ORDERED.
 22   DATED:   July 13, 2012
 23                                       Honorable Janis L. Sammartino
                                          United States District Judge
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